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 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700

 5   Attorney for Defendant
     LIANNA SUGGETT
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )     NO. CR.S-04-337 WBS
11                                   )
                     Plaintiff,      )
12                                   )     STIPULATION TO CONTINUE DATE FOR
          v.                         )     CHANGE OF PLEA; REQUEST OF COURT
13                                   )     FOR FINDING OF EXCLUDABLE TIME
     LIANNA SUGGETT,                 )
14                                   )     Date:       April 27, 2005
                     Defendant.      )     Time:       9:00 a.m.
15   _______________________________ )     Judge:      Hon. William B. Shubb

16
          IT IS HEREBY STIPULATED by and between the parties hereto through
17
     their respective counsel, KENNETH J. MELIKIAN, Assistant United States
18
     Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal
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     Defender, attorney for Defendant, that the status hearing is re set for
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     a change of plea date for April 27, 2005 at 9:00 a.m.
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              Case 2:04-cr-00337-WBS Document 46 Filed 04/19/05 Page 2 of 3


 1        Ms. Suggett is presently pregnant and in her third trimester, and
 2   she is set to deliver her baby, to begin labor, at any day and hour at
 3   present.     In fact, she is pregnant with twins, and is over due on her
 4   due date by two weeks.       As such, the parties request that her court
 5   date be continued a period of 1 week so she can give birth and recover
 6   sufficient to attend court.
 7        Accordingly, all counsel and the defendant agree that time under
 8   the Speedy Trial Act from the date this stipulation is lodged, through
 9   April 27, 2005, should be excluded in computing the time within which
10   trial must commence under the Speedy Trial Act, pursuant to Title 18
11   U.S.C. § 3161 (H)(4)and Local Code N.
12   DATED:     April 19, 2005.                Respectfully submitted,
13                                             QUIN DENVIR
                                               Federal Public Defender
14
15   DATED:     April 19, 2005.                /s/ MARK J. REICHEL
                                               MARK J. REICHEL
16                                             Assistant Federal Defender
                                               Attorney for Defendant
17
18                                             McGREGOR SCOTT
                                               United States Attorney
19
20
     DATED:     April 19, 2005.                /s/ MARK J. REICHEL for
21                                             KENNETH J. MELIKIAN
                                               Assistant U.S. Attorney
22                                             Attorney for Plaintiff
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           Case 2:04-cr-00337-WBS Document 46 Filed 04/19/05 Page 3 of 3


 1                                     O R D E R
 2       IT IS SO ORDERED.     Time is excluded in the interests of justice
 3   pursuant to 18 U.S.C. § 3161 (H)(4)and Local Code N.
 4
 5   DATED: April 19, 2005
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